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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



KELLY CAHILL, SARA JOHNSTON,                               No. 3:18-cv-01477-JR
LINDSAY ELIZABETH, and HEATHER
HENDER, individually and on behalf of                      ORDER
others similarly situated,

                      Plaintiffs,


                      v.

NIKE, INC., an Oregon Corporation,

                      Defendant.


HERNÁNDEZ, District Judge,

       Magistrate Judge Jolie A. Russo issued an Order on April 29, 2024, in which she granted

Plaintiffs’ emergency request for a Rule 16 Conference, ECF 432; granted in part and denied in

part Defendant’s Motion for Protective Order and Motion to Quash, ECF 443; granted in part

and denied in part Defendant’s Motion to Compel, ECF 445; denied Plaintiffs’ Motion to

Compel, ECF 451; and granted in part and denied in part Defendant’s Motion to Compel, ECF


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447. On May 13, 2024, Plaintiffs filed Objections to the portion of the Order denying Plaintiffs’

Motion to Compel, ECF 451. The matter is now before the Court pursuant to Federal Rule of

Civil Procedure 72(a).

       In accordance with Rule 72(a), “[w]hen a pretrial matter not dispositive of a party’s claim

or defense is referred to a magistrate judge to hear and decide, the magistrate judge must

promptly conduct the required proceedings and, when appropriate, issue a written order stating

the decision.” Fed. R. Civ. P. 72(a). The standard of review for an order with objections is

“clearly erroneous” or “contrary to law.” 28 U.S.C. ' 636(b)(1)(A) (applying the “clearly

erroneous or contrary to law” standard of review for non-dispositive motions). If a ruling on a

motion is not determinative of “a party’s claim or defense,” it is not dispositive and, therefore, is

not subject to de novo review as are proposed findings and recommendations for dispositive

motions under 28 U.S.C. ' 636(b)(1)(B).

        The Court has carefully considered Plaintiffs’ objections and concludes they do not

provide a basis to modify the Magistrate Judge’s Order.

                                          CONCLUSION

       The Court AFFIRMS Magistrate Judge Russo’s Order, ECF 480.

       IT IS SO ORDERED.



                   June 20, 2024
       DATED: _____________________.


                                                                _____________________________
                                                                     MARCO A. HERNÁNDEZ
                                                                     United States District Judge




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